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UNITED STATES DISTRICT COURT FOR 'I`HE
EASTERN DISTRICT OF PEN`NSYLVANIA

 

Lorenda Hill
2416 Sharswood Street :
Philade]phia, PA 19121 : #

Plainti i`t`

V.

lay W Graen

20226 E Admiral Place, #1134
Catoosa, OK 74015

And

Werner Enterprises, Inc.
145()7 Froritier Road
Ornaha, NE 68138

 

Defendants
COMPLAINT
PARTIES
l. Piaintiff, Lorenda Hiil, is a resident of the Commonwealth of Pennsylvania,

residing at the address listed in the caption of this Compiaint.

2. Upon information and beiief, Defendant, Jay W Graen, is a resident ot`the State

of Oklahorna, residing at the address listed in the caption of this Contplaint.

3. Dei`endant, Werner Enterprises, Inc., is a business entity registered to do business

in the State ot`Nebraska, With a business address listed in the caption of this Cornplaint.
JURISDICTION ANI) VENUE
41 This Coult has jurisdiction over the parties and subject matter ofthis Civil

Action»Com_piaint in that the Plaintit`t` is a citizen of the Cotnmonwealth of

Pennsy]vani.a and the Detendant, Jay W. Graeri,, upon information and befiet` is a

resident of the State of Oklahoma, and the Dei`endant, Werner Enterprises, Inc.,

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upon information and beliet`is a corporate entity with its principal place of
business in the State ofNebraska and the amount in controversy in this case,
exclusive of interest and costs, exceeds the sum of $75,000.

5. Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391(a) and (b) in
that this is a judicial district in the Defendant(s) are residents and/or conduct
business in this judicial district.

6. Venue is proper in this jurisdiction pursuant to 28 U.S.C. § 1391 (b) (3) in that
the Det`endant(s) are subject to courts in personal jurisdiction in this judicial
district

FACTS

7. On or about August 15, 2016, at approximately 5:00 p.ni., Plainti'ft`, was the
operator of a motor vehicie, which was traveling on l-76, at or near niile marker
187, in Franklin County, PA.

8. At or about the same date and time, Defendant, .Tay W. Graen, Was the operator
ofa motor vehic]e, which was owned by Defendant, Werner Enterprises, lnc`, which was
traveling at or near the aforesaid intersection and/or location of Piaintift”s vehicle

9. At about the same date and tinie, Defendant’s vehicle was involved in a motor
vehicie ooilision with Plaintit`f"' s vehicle

IO. At ali times relevant hereto, upon information and beiief, Defendant, J ay W.
Graen, was operating the aforementioned defendant Werner Enterprises, Inc.’s motor vehicle as
defendant’s agent, servant and/or employee acting in the scope of their agency

l l. The aforesaid motor vehicle coilision was caused by the Det`endant negligently

and/or carelessly, operating his vehicle in such a manner so as to rear~end Piaintiff"s vehicie.

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12. As a direct and proximate result of the joint and/or several and/or direct or
vicarious negligence and/or carelessness of the Dei"endants, Plaintiff has sustained serious
permanent personal injuries and damages

13. As a result of the incident, Piaintiff suffered severe and permanent injuries as set
forth more fully below.

COUNT l
Lorenda Hill v. Jay W. Graen
Negligence

i4. Plaintiffincorporates the foregoing paragraphs of this Complaint as if fully set
forth at length herein.

15. The negligence and/or carelessness of Defendant, which Was the direct and
proximate cause of the incident and the injuries and damages sustained by the Plaintit`f consists
of, but is not limited to:

a. Rear»ending Plaintiff"s vehicie;

b. Operating his vehicie into Plaintift`s lane of travel;

c. Failing to maintain proper distance between vehicles;

d. Operat'ing said vehicle without regard for the rights or safety ofPlaintiff
or others;

e. Failing to have said vehicle under proper and adequate controi;

i". Operating said vehicle at a dangerous and excessive rate of speed under
the circumstances;

g. Violation of the assured clear distance rule;

h. Failure to keep a proper iookout;

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Ll.

Failure to apply brakes earlier to stop the vehicle without rear~ending the
Plaintiff and/or Plaintii`f’s vehicle;

Being inattentive to his duties as an operator of a motor vehicle;
Disregarding traffic lanes, patterns, and other devices;

Driving at a high rate of speed which was high and dangerous for

c-onditions;

. 1trailing to remain continually alert while operating said vehicle;

Failing to perceive the highly apparent danger to others which the actions
and/or inactions posed;

Failing to give Plaintiff meaningful Warning signs conceming the
impending collision;

Failing to exercise ordinary care to avoid a collision;

Failing to be highly vigilant and maintain sufficient control of said
vehicle and to bring it to a stop on the shortest possible notice;

Gperating said vehicle with disregard for the rights of Plaintifl`, even
though she was aware or should have been aware of the presence of
Plaintiff and the threat of harm posed to Plaintiff;

Continuing to operate the vehicle in a direction towards the Plaintiff’s
vehicle when he/she saw, or in the exercise of reasonable diligence,
should have seen, that further operation in that direction would result in a
collision;

Driving too fast for conditions;

Violating the Pennsylvania Vehicle Code;

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v. Failing to operate said vehicle in compliance with the applicable laws and
ordinances of the Commonwealth of Pennsylvania, pertaining to the
operation and control of motor vehicles

l64 As a direct result of the negligent and/or careless, conduct of Defendant, Plaintiff
suffered various serious and permanent personal injuries, serious impairment of bodily function,
permanent serious distigureinent, and/or aggravation of certain injuries, all to Pl.aintift"s great
loss and detriment

17. As a result of these injuries, all of which are permanent in nature and all of which
are to Plaintifl."s’ great iinancial detriment and loss, Plaintiff has in the past, is presently, and
may in the future suffer great pain, anguish, sickness and agony and will continue to suffer for
an indefinite time into the futurel

18. As an additional result of the carelessness and/or negligence ofDefendant,
Plaintiff has suffered emotional injuries along with the physical injuries suffered

l.9. As a direct result of the negligent and/or careless conduct o.t` the Defendant,
Plaintiff suffered damage to Plaintift"s personal property, including a motor vehicle, Which
Plaintiff was operating at the time of the aforesaid motor vehicle collision; including but not
limited to, storage fees and towing, all to Plaintiff`s great loss and detriment

20. As a further result of the injuries sustained, plaintiffs have, are presently, and
may in the future undergo a great loss of earnings and/or earning capacity, all to Plaintifl"' s
further loss and detriment

2l. Funhermore, in addition to all the injuries and losses suffered by Plaintiff,
Plaintiff has also incurred or will incur medical, rehabilitative and other related expenses in an

amount equal to and/or in excess of the basic personal injury protection benefits required by the

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l’ennsylvania Vehicle Financial Responsibility Law, 75 Pa.C.S. Section 1701, §§ §_e_q._, as
amended, for which he makes a claim for payment in the present action.

Wl~lEREFORE, I’laint'iff demandsjudgment in Plaintiff’s favor and against Defendant,
in an amount in excess of Seventy Five Thousand ($75,000.00) Dollars, plus all costs and other
relief this court deems necessary

COUNT ll
Lorenda Hill v. Werner Enterprises, lnc.
Negligent Entrustment

22. Plaintiff incorporates the foregoing paragraphs of this Cornplaint as if set forth
fully at length herein

23. The negligence and/or carelessness of Defendant, Werner Enterprises, Inc.,
which was a proximate cause of the aforesaid motor vehicle collision and the resultant injuries
and damages sustained by the Plaintiff, consists of, but is not limited to, the following:

a. Permitting Defendant, lay W. Graen, to operate the motor vehicle without
first ascertaining whether or not he/she was capable of properly operating
said vehicle;

b. Permi.tting lay W. Graen_. to operate the motor vehicle when Defendant,
Werner Enterprises, lnc., knew, or in the exercise of due care and
diligence, should have known that Defendant, J ay W. Graen, was capable
of committing the acts of negligence set forth above;

c. Failing to warn those persons, including the Plaintiff, that Defendant,
Werner Enterprises, knew, or in the existence of due care and diligence

should have known, that the Plaintil`f would be exposed to lay W.

Graen’s negligent operation of the motor vehicle

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24. As a direct result of the negligent and/or careless conduct ot`Defendant, the
Plaintifl` suffered various serious and permanent personal injuries_, serious impairment of hodin
function, permanent serious disfigurement, aggravation of certain injuries and/or other ills and
injuries all to Plaintiff’s great loss and detriment

25. As a result of these injuries, all of which are permanent in nature and ali of which
are to Plaintil"l‘"s great financial detriment and loss, Plaintil‘f has in the past, is presently and may
in the future suffer great anguish, sickness and agony and will continue to suffer for an
indefinite time into the future.

26. As an additional result of the carelessness and/or negligence ofl)efendant,
Plaintiff has suffered emotional injuries, along with the physical injuries suffered

27. As a direct result of the negligent conduct of the Defendant, Plaintiff suffered
damage to his/her personal property, including his/her motor vehicle, which Plaintifl:` was
operating at the time ofthe aforesaid motor vehicle collision; including but not limited to,
storage fees and towing, all to Plaintiff’s great loss and detriment

28. As a further result of Plaintit`f"s injuries, she has in the past, is presently and may
in the future undergo a great loss of earnings and/or earning capacity, all to Plaintil`l"'s further
loss and detriment

29. Furthermore, in addition to all the injuries and losses suffered by Plaintit`f,
Plaintiff has also incurred or will incur medical, rehabilitative and other related expenses in an
amount equal to and/or in excess of the basic personal injury protection benefits required by the
Pennsylvania Vehicle Financiai Responsibility Law, 75 Pa.C.S. Section 1701, e_t. wm as

amended, for which she makes a claim for payment in the present action.

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WHEREFORE, Plaintiff demands judgment in Plaintiff`s favor and against Defendant,
in an amount in excess of Seventy Five l`liousand ($75,00().00) Dollars, plus all costs and other
relief this court deems necessary

COUNT III
Lorenda Hill v. Werner Enterprises, lnc.
Respondeat Superior

30. Plaintift` incorporates the foregoing paragraphs of this Complaint as if fully set
forth at length herein.

31. The negligence and/or carelessness of Defendant, itself and through its agent, the
driver of the motor vehicle, acting at all times relevant hereto within the scope of the agency,
which Was the direct and proximate cause of the incident and the injuries and damages sustained
by the plaintiff consist of, but is not limited to:

a. liear~ending Plaintiff‘s vehicle;

b. Operating his vehicle into Plaintifl"'s lane of travel;

c. Failing to maintain proper distance between vehicles;

d. Operating said vehicle without regard for the rights or safety of Plaintiff
or others;

e. Failing to have said vehicle under proper and adequate control;

f. Opcrating said vehicle at a dangerous and excessive rate of speed under
the circumstances',

g. Violation of the assured clear distance rule;

h. Faiiure to keep a proper lookout;

i. li ailure to apply brakes earlier to stop the vehicle without rear»ending the

Plaintiff and/or PlaintifF s vehicle;

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Being inattentive to his duties as an operator ofa motor vehicle;
Disregarding traffic lanes, patterns, and other devices;

Driving at a high rate of speed which was high and dangerous for
conditions;

Failing to remain continually alert while operating said vehicle;
Failing to perceive the highly apparent danger to others which the actions
and/or inactions posed;

Failing to give Plaintiff meaningful warning signs concerning the
impending collision;

Failing to be highly vigilant and maintain sufficient control of said
vehicle and to bring it to a stop on the shortest possible notice;
Operating said vehicle with disregard for the rights of Plaintiff, even
though he was aware or should have been aware ofthe presence of
Plaintiff and the threat of harm posed to him;

Continuing to operate the vehicle in a direction towards the Plaintiff’ s
and/or co-delendants’ vehicle when he saw_. or in the exercise of
reasonable diligence, should have seen, that further operation in that
direction would result in a collision;

Driving too fast for conditions;

Failing to operate said vehicle in compliance with the applicable laws and
ordinances of the Commonwealth ofi’ennsylvania, pertaining to the

operation and control of motor vehicles;

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32. As a direct result of the negligent and/or careless, conduct of Defendant, Plaintit`f
suffered various serious and permanent personal inj uries, serious impairment of bodily function,
permanent serious distigurenient, and/or aggravation of certain injuries, all to Plaintifi"'s great
loss and detriment

33. As a result of these injuries, all of which are permanent in nature and all of which
are to Plaintiffs’ great financial detriment and loss, Plaintiff has in the past, is presently, and
may in the future suffer great pain, anguish, sickness and agony and will continue to suffer for
an indefinite time into the future

34. As an additional result of the carelessness and/or negligence of Defendant,
Plaintiff has suffered emotional injuries along with the physical injuries suffered

35. As a direct result of the negligent and/or careless conduct of the Defendant,
Plaintiff suffered damage to Plaintifi"s personal property, including a motor vehicle, which
Plaintift` was operating at the time of the aforesaid motor vehicle collision; including but not
limited to__ storage fees and towing, all to Plaintiff’s great loss and detriment

36. As a further result of the injuries sustained, Plaintiffhas, is presently, and may in
the future undergo a great loss ol` earnings and/or earning capacity, all to Plaintiff’s further loss
and detriment

37. Furthermore, in addition to ali the injuries and losses suffered by Plaintiff,
Plaintiff has also incurred or Will incur medical, rehabilitative and other related expenses in an
amount equal to and/or in excess of the basic personal injury protection benefits required by the

Pennsylvania Vehicle Financial Responsibility Law, 75 Pa.C.S. Section l70l, e_L Seg., as

amended, for which he makes a claim for payment in the present action

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WHEREFORE, Plaintiff demands judgment in `Plaintifl"'s favor and against Defendant,
in an amount in excess of Seventy Five Fl`housand ($75,00().0(}) Dollars, plus all costs and other

relief this court deems necessary

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/ Joshua l3aer, Esquire
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VERIFICATION
l, , arn the plaintiff in this action, and l hereby state that the facts set
forth in the foregoing Complaint are true and correct to the best of my knowledge, information,
and belief lunderstand that this verification is subject to 18 Pa. C.S. § 4904 providing for

criminal penalties for unsworn falsification to authorities

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